Case 4:17-cV-04123-LLP Document 85-6 Filed 10/18/18 Page 1 of 16 Page|D #: 1611

NAME:

BIRTHDATE

CITIZENSHIP:

SOCIAL SECURITY NUMBER:

MARRIED/SINGLE
HOME ADDRESS:
HOME PHONE:
EDUCATION

High School:

WCFCV/2008

CURRICULUM VITAE

EleBlT_L
wm _M

William C. Fuller, M.D.

Professor and Vice Chairman Adult Services
Avera University Psychiatry ASSociateS
4400 West 69ch Street, Suite 1500

Sioux Falls, South Dakota 57108

DATE= M~_/J’_

Suzanne'Brudigan RPH-CSR

 

Phone: 605/322-5700
605/322-5704
Email: wfuller@usd.edu
Fax: 605/322-5704
February 8, 1947

United States

XXX-XX-XXXX

Married SPOUSE'S NAME: Gail
26548 North Shore Pl.

Hartford, South Dakota
605-526-6390

57033

Arnold High School, Arnold, Nebraska,

(4 years) Graduated 1965

College:
(4 years)

Medical or Graduate School:

Residency:

University of Nebraska,
1965-1968

Lincoln, Nebraska,
(B.S. in 1970)

University of Nebraska College
of Medicine, Omaha, Nebraska
1968-1972 (M.D. in 1972)

University of Nebraska College of Medicine,
Department of Psychiatry,

Omaha, Nebraska July

l972-June 1975

BOARD CERTIFICATION

Psychiatry. American Board of Psychiatry and Neurology- June, 1977
Licensure: Nebraska - #12488 - Issued Aug.28, 1972

South Dakota ~ #2080 - Issued May 30, 1975

Minnesota #022298 -

Iowa - #27059

Professor and Executive Vice Chairman
USD School of Medicine, Department of Psychiatry

Sioux Falls,
September 15,

South Dakota
2002 to present

Case 4:17-cV-04123-LLP Document 85-6 Filed 10/18/18 Page 2 of 16 Page|D #: 1612

WCFCV/2008

Professor and Chairman

USD School of Medicine Department of Psychiatry
Sioux Falls, South Dakota

December 1, 1989 to September 15, 2002

Professor and Acting-Chairman

USD School of Medicine Department of Psychiatry
Sioux Falls, South Dakota

July 1, 1989 ~ December 1, 1989

Director of Research, Avera McKennan
University Psychiatry Associates
Sioux Falls, South Dakota

July 1, 2002 to present

Medical Director
Psychiatry Associates
Sioux Falls, South Dakota
June 1989-July 1, 2002

Program Director

Charter Hospital of Sioux Falls
Sioux Falls, South Dakota
March 1991 - 1994

Medical Director

Charter Hospital of Sioux Falls
Sioux Falls, South Dakota

April l, l989-March 1991

Director of Education and Training
Professor and Vice-Chairman

USD School of Medicine

Department of Psychiatry

Sioux Falls, South Dakota
1975-1989

Instructor

University of Nebraska College of Medicine
Department of Psychiatry

Omaha, Nebraska

91972

SOCIETY MEMBERSHIPS

American Medical Association, South Dakota State Medical
Association - 1975 to present, current delegate to Annual
Meeting, Alternate Counselor

American Psychiatric Association - 1973 to present

South Dakota Psychiatric Association - 1973 (formerly Sioux
Psychiatric Society, Nebraska-South Dakota Branch of the

American Psychiatric Association)

American Society for Education in Substance Abuse - 1978 to present.

Case 4:17-cV-04123-LLP Document 85-6 Filed 10/18/18 Page 3 of 16 Page|D #: 1613

WCFCV/2008

Association of Directors of Undergraduate Medical Education
- 1977 to 1993
Association of Directors of Psychiatric Residencies - 1986 to 1990
Association of Academic Psychiatry - 1983 to present
Association of American Medical Colleges - 1976 to present
Charter Hospital of Sioux Falls Staff - 1989 to present
McKennan Hospital Staff - 1975 to present
Sioux Valley Hospital Staff - 1975 to present
VA Hospital Staff - 1975 to present
University Physicians - Offices past, Secretary-Treasurer,
President, Vice-President and President, most recently
President of University Physicians 1995 - 2001
South Dakota Psychiatric Association
Assembly Representative 1981 - 1989,
Legislative Representative - 1989 to present,
Past President - 1980 to 1981
Public Affairs Representative - 1989-1991
Fellow, American Psychiatric Association, 1986
Anxiety Disorders Association of America - 1996

CME ACCREDITATION:
AMA Physician Recognition Award, 2002-2004.
ACR Certification in GCP, June 2002

HONORS AND AWARDS:

Valedictorian of High School Class, 1965.

Regents Scholarship, State of Nebraska, 1965-1968.

University of Nebraska Honors Program, 1965-1968.

Cecil B. Wittson “Outstanding Medical Student in Psychology” Award, 1971-1972.

Merril T. Eaton “Outstanding Resident in Psychiatry” Award, 1974-1975.

Chief Resident, University of Nebraska School of Medicine, 1974-1975.

South Dakota NAMI Service Award for development of research, 1993.

Roy Knowles Distinguished Faculty Award, 1995.

Nancy C.A. Roeske Award for Excellence in Medical Education, 1997.

Roy Knowles Friend of Mental Health by Southeastern Behavioral Health Care,
1998 and 1999.

Recognition Award, Sioux Valley Hospital and University of South Dakota Medical
Center, 2000 and 2002.

Distinguished Service Award, University of South Dakota School of Medicine,
Department of Psychiatry, 2001.

NAMI Award for Exceptional Service,2001. (South Dakota)

NAMI Exemplary Psychiatrist Award, 2002. (National Award)

American Psychiatry Association Distinguished Fellow Award, 2003.

TEACHING EXPERIENCE

Psychiatry Clerkship - University of Nebraska School of Medicine, Involved in
lecture series for junior students during each rotation of the junior
psychiatry clerkship, 1973-1975

Coordination of Educational Programs - University of South Dakota School of
Medicine, Department of Psychiatry, 1975 - 1993.

From 1977 - 1993 served as the Director of Education Training in the Department
of Psychiatry and have been the major coordinator of all psychiatry teaching
programs within the School of Medicine.

Case 4:17-cV-04123-LLP Document 85-6 Filed 10/18/18 Page 4 of 16 Page|D #: 1614

WCFCV/2008

A. Junior Psychiatric Clerkship - Coordinator of the Psychiatry Clerkship
overall from 1975 - 1993 Continued major role in seminars, quizzes and
examinations.

B. Liaison Psychiatry - Participated in Liaison Psychiatry teaching rounds and
conference teaching and in organization of the clerkship of the liaison
psychiatry objectives and materials from 1975 to 1990.

C. Introduction to Clinical Medicine - Teach in all

sections of Introduction to Clinical Medicine at differing points in time.
Includes teaching in physical diagnosis, interviewing skills, growth and
development, psychopathology and becoming a physician. Specific involvement has
varied slightly from year to year and will not enumerate the minor changes in
teaching responsibilities from year to year.

D. Psychiatry Electives - Have offered psychiatry electives in Sioux Falls each
year in the area of community psychiatry, medical and family psychiatry,
individual elective in psychiatry and alcohol and drug electives.

E. Elective Coordinator - July 1, 2002-present.

F. Family Practice Residency - Lecture training to family practice residents
during their noon conference series since 1975. In addition, have been involved
as a perceptual teacher of family practice residents when they take their two-
month psychiatry rotation since 1979. In addition, have been involved in a
comprehensive family practice training within the center during the years in
which a grant written and developed by the Department of Psychiatry was in
operation.

G. Internal Medicine Residency - Involvement in lecture teaching to the
internal medicine residents during the years 1979 through 1982. Series will
begin again in 1995-96 academic year.

H. Psychiatry Residency - Wrote and obtained accreditation for the Adult
Psychiatry Residency July 1, 1987. Teaching in multiple
courses and individual supervision since that time.
Major responsibilities 1987-present:
4th Year Curriculum
Practice Development
Managed Care
Psychiatric Syndromes
Administrative organization of outpatient
practice for residents
6. Development of financing for the residency
7. Participation in department teaching service
8. Student supervision, outpatient and career supervisor

U’I»bbJNl-'

COMMITTEE ASS IGNMENTS

 

Member, Joint Education Committee, 1977-1979
Member, Subcommittee on Longitudinal Evaluation of
Curriculum Committee
Member, Ad Hoc Committee on Ambulatory Clerkships, 1981-present
Member, Executive Committee, 1977-1978
Member, Dean's Committee, 1977-1978
Member, Comprehensive Evaluation Subcommittee, 1978-present

Case 4:17-cV-04123-LLP Document 85-6 Filed 10/18/18 Page 5 of 16 Page|D #: 1615

WCFCV/ZOOS

Chairman, Comprehensive Evaluation Committee, 1980-1981
Co-Chairman, Comprehensive Evaluation Subcommittee, 1981-1982
Utilization Committee, McKennan Hospital, 1979
Reviewer, South Dakota Medical Journal, 1978-present
President Elect, South Dakota Psychiatric Association, 1978-1980
President, South Dakota Psychiatric Association, 1980-1982
Board of Directors, University Physicians, 1981-January 2002
Executive Committee, University Physicians, 1981-January 2002
Vice-Chairman, University Physicians Board, 1981-1982, 1991-1995
Psychiatry Department University Physicians Committee, 1979-1989
Chairman,.Department of Psychiatry Appointment and Recruitment
Committee, 1979-1983
Chairman, Ad Hoc Committee to develop an Alcohol Treatment
Program, 1980-1991
Chairman, Ad Hoc Committee to develop a Department of
Psychiatry Self-Help Organization, 1981-1983
Member, State Mental Health Advisory Committee, 1976-1981
Member, USD Curriculum and Evaluation Committee, 1976-1983,
1986-1993
Chair, USD Curriculum & Evaluation Committee 1987-1989
Chairman, Elective Subcommittee, 1977-1980
Chairman, Psychiatry Curriculum Committee, 1977-1993
Member, Elective Subcommittee Curriculum Committee-present
Member, LCME Central Task Force 1992, 1997, and 2002
Member, Appointments, Promotion and Tenure Committee of the
University of South Dakota, School of Medicine, 1983-2000
President, APT Committee 1991-1993
Member USD Student Promotion and Conduct Committee, 1983-1985
Member, USD Graduate Medical Education Advisory Committee,
1983-1986, 1996-2002
Board of Directors Residency Corporation 1991-present
Vice-President, Board of Directors, University Physicians,
1983-1984,l991 to l995
Secretary-Treasurer, University Physicians, 1984-1985
President, University Physicians 1985-1988 and 1995-January 2002
Chairman, University Physicians Board of Directors, October 1995-January 2002
Chairman, Psychiatry Department, McKennan Hospital, 1987-1989, 2000-present
Member, Executive Committee, McKennan Hospital, 1987-1989
President, Quality Assurance Committee, McKennan Hospital, 1987-1989
Medical Director, Charter Hospital of Sioux Falls, 1989-1991
Chairman, Medical Staff Charter Hospital 1989-1992
Chief, Department of Psychiatry, Sioux Valley Hospital, 1997-2001
Unit Director, Charter Hospital of Sioux Falls, 1991-1994
Consultant to McKennan Hospital regarding clinical organization,
Teaching and outcome monitoring
Chairman, Search Committee for Family Medicine Chairman,
June 1995-January 1996
Nominating Committee, APA, 1988
Medical Education Committee,1998-2001
LCME Task Force 2001
Fourth-Year Elective Subcommittee of Medical Education Committee,
2002-present

NATIONAL ORGANIZATION ACTIVITIES

 

Member, Rural Task Force, American Psychiatric Association, 1996 - present
Reviewer, “Archives of General Psychiatry", 1995 - present

Case 4:17-cV-04123-LLP Document 85-6 Filed 10/18/18 Page 6 of 16 Page|D #: 1616

WCFCV/ZOOS

Member, Medicare National Advisory Committee, 1995 - present

Managed Care Subcommittee, Association of Chairman of Academic Psychiatry, 1993
- 2002

Member, Practice Plan Subcommittee - MGMA

Reviewer, “Psychiatric Services”, 1991 - present

Reviewer, “Academic Psychiatry", 1987 - present

Examiner, American Board of Psychiatry and Neurology, 1979-present

Reviewer, American Journal of Psychiatry, 1979-present

Peer Review Committee of American Psychiatric Association, Champus Project,
1978-1988

Practice Research Network, 1999 - present.

GRANTS RECEIVED

Mental Health Training in a Family Practice Residency, National
Institute of Mental Health - Psychiatric Education,
July l, 1978 - June 30, 1985 $l4l,693.00

Undergraduate Psychiatry and Behavioral Science, Department of Health,
Education and Welfare, July 1, 1977 - June 30, 1982 $75,745.00

Continuing Education of Primary Care Physicians, Department of Health,
Education and Welfare, July 1, 1976 - June 30, 1979 $65,145.00

Academic Career Teacher Award in Narcotic Addiction, Drug and Alcohol
Abuse, Department of Health, Education and Welfare, February 1, 1979 -
February 1, 1982 $150,518.00

Primary Care Research and Demonstration Grant, "Mental Health-Primary Care
Linkage", Department of Health and Welfare, Public Health Service,
September 1980 - September 1983 $1,293,054.00

Effects of Liaison Psychiatry on Alcoholism Attitudes, VA Central Office,
OCtOber l978-l979 $3000.00

"Homeless Mentally Ill" - Research funds from the USDSM Intramural
Research Committee, July 1990 - $2,625.00

APA Public/Academic Liaison Project 1988, 1993.

CONTRACT RESEARCH EXPERIENCE

 

Principal Investigator. Novartis, Excelon ENAB-356, “Alzheimer's Medication
Trial Community”, April 1997

Principal Investigator. CRO - Parexel, Risperdal, “Management of
Schizophrenia”,
October 1994

Principal Investigator. Sponsor - Eli Lily, R-fluoxetine, “Management of
Depression in Adults”, September 1999

Principal Investigator. Sponsor - Pfizer, Ziprasidone vs. Olanzapine.
“Inpatient Management, Patients with Schizophrenia/Schizoaffective
Disorder”, June 2000

Principal Investigator. Sponsor - Eli Lilly, Zyprexa vs. Placebo, “Mixed or
Manic Bipolar”, March 2000

Principal Investigator. Sponsor - Eli Lilly, Zyprexa/Prozac vs. Placebo,
“Depressed Bipolar”, June 2000

Principal Investigator, Sponsor - Janssen, Risperdal vs. Placebo, “Mixed or
Manic Bipolar”, January 2001

Principal Investigator, Sponsor - Shire, Tegretol CR, “Lithium

Failure/Bipolar”,
January 2001

Principal Investigator. Sponsor, Janssen, Risperdal vs. Placebo,
“Alzheimer's”,
November 2000

Case 4:17-cV-04123-LLP Document 85-6 Filed 10/18/18 Page 7 of 16 Page|D #: 1617

WCFCV/2008

Principal Investigator. Sponsor - Glaxo-SmithKline, Paxil vs. Placebo, “PMDD”,
May 2001

Principal Investigator. Sponsor - Shire, Adderall CR, “Treatment for ADHD”,
May 2001

Principal Investigator. Sponsor - Organon, Org 5222, “Treatment for
Schizophrenia”,

November 2000

Protocol A128-1052: A Phase III, Randomized, Placebo-Controlled, Double-Dummy
Study Evaluating the Safety and Efficacy of Oral Ziprasidone Vs.
Haloperidol and Placebo in Patients with an Acute Manic Episode
June 2002

Protocol 01-02-TL-375-032: A Phase III Safety Study to Evaluate the Long-Term
Effects on Endocrine Function in Adult Subjects with Chronic Insomnia,
February 2003

Protocol DR15343: A Dose-Ranging Placebo-Controlled Study of SL65.0155-10 at
the doses of 0.5 mg 2mg and 8 mg for 12 Weeks in Patients with Mild-to-
Moderate Alzheimer’s Disease, August 2003 - present.

Protocol M4Z-MC-GJAD: Effects of Arzoxifene on Vertebral Fracture Incidence and
on Invasive Breast Cancer Incidence in Postmenopausal Women with
Osteoporosis or Low Bone Density
July 2004

Principal Investigator

Protocol D1444C00133: A six week, Multi-center, Double-blind, Double-dummy,
Randomized Comparison of the Efficacy and Safety of Sustained-Release
Formulation Quetiapine Fumarate (SEROQUEL) and Placebo in the Treatment of
Acutely III Patients with Schizophrenia, September 2004
2004

Protocol EFC2946: A randomized, Multi-center, Double-blind, Placebo-controlled,
18-month study of the efficacy of Xaliproden in patients with mild-to-
moderate dementia of the Alzheimer's type
May 2005

Protocol 041021: A Multi-center, Randomized, Double-blind, Fixed-dose, 6-week
Trial of the Efficacy and Safety of Asenapine compared with Placebo using
Olanzapine positive control in subjects with an acute exacerbation of
Schizophrenia.

August 2005

Protocol A7501008: A Phase 3, Randomized, Placebo-Controlled, Double-blinded
Trial Evaluating the Safety and Efficacy of Asenapine in Subjects Continuing
Lithium or Valprioc ACid/Divalproex Sodium for the Treatment of an Acute
Manic or Mixed Episode.

October 2005

Re: Protocol D1448C00005 - A Multi-Centre, Double-Blind, Randomized-Withdrawal,
Parallel-Group, Placebo-Controlled Phase III Study of the Efficacy and
Safety of Quetiapine Fumarate Sustained Release (SEROQUEL SRTM) As
Monotherapy in the Maintenance Treatment of Patients with Major Depressive
Disorder Following an Open-Label Stabilization Period (AMETHYST STUDY)
February 2006

Protocol A1281134 - Six Week, Double-Blind, Placebo-Controlled Phase III Trial
Evaluating the Efficacy, Safety, and Pharmacokinetics of Flexible Doses of
Oral Ziprasidone in Adolescent Subjects with Schizophrenia.

February 2006

Protocol UP-AS-301: A Randomized, Double-blind study of UP 4896 U.S. Placebo
In patients with mild to moderate Alzheimer’s disease.

Augusc 2006

Protocol S-1543021: A Multi-center, Randomized, Double-blind study of
Bifrunox v.s. Quetiapine in Schizophrenia.

February 2007

Case 4:17-cV-04123-LLP Document 85-6 Filed 10/18/18 Page 8 of 16 Page|D #: 1618

WCFCV/2008

Protocol CN148015: A Double-blind, Randomized, Placebo-controlled study of
Paxacerfont in Generalized Anxiety Disorder.
June 2007

Protocol Elaw-AAB-001-ELN115727-301 and -302: Phase III, A Multi-center,
Randomized, Double-blind, Placebo-controlled, Parallel group study of
Efficacy and Safety of Bapinea Zumab in Mild to Moderate Alzheimer's
Disease.
February 2008

Protocol FIS-US-HMFT: Open label trial of dualoxetine v.s. Generic SSRI's in
the Treatment of Severe Depression.
April 2008

Protocol R076472~SCH-4005: A Double-blind , Safety and Efficacy study of
Palperidose in the treatment of Patients with Schizophrenia or
Schizoaffective Disorder and Hepatic Disease.
May 2008

PUBLICATIONS
Fuller, William C., "The Greening of Psychiatry," Concepts, May 1977

Fuller, William C. and Larson, Adrian, Lois, "Grief: A Case Report", South
Dakota Journal of Medicine, Volume XXX, No. 4, April 1977

Fuller, William C. and Gunn, S. Richard, "Organic Brain Syndrome in Alcoholics:
A Study Based on Shipley Institute of Living Scale Data," Currents in
Alcoholism, Volume IV, Psychiatric, Psychological, Social & Epidemiological
Studies, Grune & Stratton, Inc., 1978

Fuller, William C.; Gulledge, A. Dale; Roberts, Cecilia M., “Pain: Current
Concepts and Management, “ South Dakota Journal of Medicine, Volume XXX, No. 2,
1977

Fuller, William C., Contributing author, "Medical Dimensions in Mental
Retardation,“ University of Nebraska Press, 1978

Fuller, William C.; Roberts, Cecilia; Gulledge, A. Dale; "Liaison Psychiatry:
An Approach to Curriculum for the Medical Student,“ Journal of Medical
Education, 1979

Fuller, William C.; Roberts, Cecilia; Soule, Douglas, "Liaison Psychiatry, An
Approach to Curriculum Development," Journal of Psychiatric Education, Spring
1980

Fuller, William C. and Bean, David W., "Development of the South Dakota
Psychiatric Association," South Dakota Journal of Medicine, May 1981

Fuller, William C.; Bhatara V.; Ricci, J.: Lapierre, R., “Linkage Attitudes: A
Profile of Needs, Problems and Proposed Solutions," presented in Washington,
DC, November 10, 1981

Fuller, William C.; Bhatara V.; Ricci, J; Lapierre, R., “Job Satisfaction of
Central South Dakota Physicians," South Dakota Journal of Medicine, November,
1982

Case 4:17-cV-04123-LLP Document 85-6 Filed 10/18/18 Page 9 of 16 Page|D #: 1619

WCFCV/2008

Fuller, William C.; Bhatara, V. ; Ricci, J. ; Lapierre, R.; Pederson, C.,
"Infrequent Interdisciplinary Information Exchange: A Major Barrier to Mental
Health-General Health Linkage?" American Journal of Psychiatry, 1983

Fuller, William C.; Bhatara, V.; Lapierre, R., "Alcoholism Referral Processes:
A Study of Interprofessional Attitudes, “ published in Alcoholism: Clinical
and Experiential Research, Volume VII, No. 1, 1983

Fuller, William C. and Bhatara, V., "Empirical Recommendations for Linkage
Building: Steps for Successful Mental Health Programs," Public Health Reports,
1983

Fuller, William C. and Soule, Douglas, "Changing Attitudes of Medical Students
Toward Alcohol Use," South Dakota Journal of Medicine, August 1985

Fuller, William C. and Williams, W. Vail, "Adult Victims of Childhood Sexual
Abuse: In a Clinical Population", Paper presented at 64th Annual Meeting,
American Orthopsychiatric Association, March, 1987

Fuller, William C. and Williams, W. Vail, "Adult Victims of Childhood Sexual
Abuse: In a clinical Population", South Dakota Journal of Medicine, September,
1988

Fuller, William C.; Bhatara, Vinod S.; & Unruh, Elwin R.;
"The Case for Managed Cooperation (Not Competition): South
Dakota Mental Health Linkage Project“, South Dakota Journal
of Medicine, September 1994

Fuller, William C.; and Bhatara, Vinod S., “Continuing Interdisciplinary
Education: A Needed Strategy to Reduce Reservation Mental Health Service
Deficit". Abstract presented at the 13th International Congress of

International Association for Child and Adolescent Psychiatry, July 24-28, 1994
- San Francisco, California

Fuller, William C.; and Bhatara, Vinod S., "Infrequent Interdisciplinary
Information Exchange: A Major Barrier to Interprofessional Linkage", Abstract
presented at the 13th World Congress of Social Psychiatry, November, 1992

Vinod S. Bhatara, MD, MS; William C. Fuller, MD; Lynda O'Connor-Davis, Ed.D;
and Lalith K. Misra, DO, Ph.D., "Improving Job Satisfaction of Rural South
Dakota Mental Health Providers Through Education: A Pilot Study“, published in
the South Dakota Journal of Medicine, March, 1996

Fuller, William C., "Homeless Mentally Ill in South Dakota, 5-Year
Retrospective Study“, Orthopsychiatry, 1997

Fuller, William C., Folks, David, “Anxiety, Pharmacologic Treatment in the
Elderly”, published in Geriatric Psychiatry: The Psychiatric Clinics of North
America, Vol. 20:1, pp 119-139, March 1997

Book Review: "Understanding Biological Psychiatry" by Robert J. Hedaya, M.D.
Review published in the December, 1997 issue of Psychiatric Services

PRESENTATIONS AT PROFESSIONAL MEETINGS

 

How to Handle Stress and Strain, Black Hills, SD, University of South Dakota
School of Medicine, Department of Psychiatry, September 11-12, 1976

Case 4:17-cV-04123-LLP Document 85-6 Filed 10/18/18 Page 10 of 16 Page|D #: 1620

WCFCV/2008

Sexual Counseling in Primary Care, Aberdeen, SD, University of South Dakota
School of Medicine, Department of Psychiatry, November 26, 1976

Current Concepts in Alcoholism, Sioux Falls, SD, University of South Dakota
School of Medicine, Department of Psychiatry, December 3, 1976

The Challenge of Alcoholism, Watertown, SD, University of South Dakota School
of Medicine, Department of Psychiatry, January 7, 1977

The Challenge of Alcoholism, Watertown, SD, University of South Dakota School
of Medicine, Department of Psychiatry, February 15, 1977

Marital and Family Counseling in Primary Care, Aberdeen, SD, University of
South Dakota School of Medicine, Department of Psychiatry, March 26, 1977

Practical Approaches to Treatment of Sexual Dysfunction, Rapid city, SD,
University of South Dakota School of Medicine, Department of Psychiatry, May 4,
1977

Reactions to Illness and Hospitalization, Aberdeen, SD, University of South
Dakota School of Medicine, Department of Psychiatry, May 21, 1977

Medical Interviewing Skills, Watertown, SD, University of South Dakota School
of Medicine, Department of Psychiatry, May 27, 1977

Handling Problems in the Family, Sioux Falls, SD, University of South Dakota
School of Medicine, Department of Psychiatry, October 1-2, 1977

How to Handle Stress and Strain, Sioux Falls, SD, University of South Dakota
School of Medicine, Department of Psychiatry, October 1-2, 1977

Practical Approaches to Treatment of Sexual Dysfunction, Brookings, SD,
University of South Dakota School of Medicine, Department of Psychiatry,
November 3, 1977

Practical Approaches to Treatment of Sexual Dysfunction, Pierre, SD, University
of South Dakota School of Medicine, Department of Psychiatry, November 8, 1977

Clinical Use of Psychotherapeutic Drugs, Yankton, SD, University of South
Dakota School of Medicine, Department of Psychiatry, December 3, 1977

Liaison Issues in Medical Practice, Rapid City, SD, University of South Dakota
School of Medicine, Department of Psychiatry, December 3, 1977

Reactions to Illness and Hospitalization, Brookings, SD, University of South
Dakota School of Medicine, Department of Psychiatry, January 5, 1978

Clinical Use of Psychotherapeutic Drugs, Yankton, SD, University of South
Dakota School of Medicine, Department of Psychiatry, January 10, 1978

Marital Counseling in the Office, Pierre, SD, University of South Dakota School
of Medicine, Department of Psychiatry, January 14, 1978

Practical Approaches to Treatment of Sexual Dysfunction, Pierre, SD, University
of South Dakota, School of Medicine, Department of Psychiatry, February 7, 1978

10

Case 4:17-cV-04123-LLP Document 85-6 Filed 10/18/18 Page 11 of 16 Page|D #: 1621

WCFCV/ZOOS

The Challenge of Alcoholism, Pierre, SD, University of South Dakota School of
Medicine, Department of Psychiatry, March 7, 1978

Family Counseling, Deadwood, SD, University of South Dakota School of Medicine,
Department of Psychiatry, March 16, 1978

Problem Children, Rapid City, SD, University of South Dakota School of
Medicine, Department of Psychiatry, March 17, 1978

Practical Approaches to Depression, Sioux Falls, SD, University of South Dakota
School of Medicine, Department of Psychiatry, April 29, 1978

Diagnosis and Treatment of Severe Emotional Problems, Yankton, SD, University
of South Dakota School of Medicine, Department of Psychiatry, May 16, 1978

Diagnosis and Treatment of Severe Emotional Problems, Yankton, SD, University
of South Dakota, School of Medicine, Department of Psychiatry, June 15, 1978

How to Handle Stress and Strain, Brookings, SD, University of South Dakota
School of Medicine, Department of Psychiatry, June 22, 1978

Evaluation and Treatment of Depression in the Medical Patient, Rapid City, SD,
University of South Dakota School of Medicine, Department of Psychiatry,
September 18, 1978

Psychological Aspects of Coronary Care, Aberdeen, SD, University of South
Dakota School of Medicine, Department of Psychiatry, September 28, 1978

Psychopharmacology Update, Sioux Falls, SD, University of South Dakota School
of Medicine, Department of Psychiatry, October 7, 1978

Psychological Aspects of Coronary Care, Aberdeen, SD, University of South
Dakota School of Medicine, Department of Psychiatry, October 28, 1978

Concepts in Pain Management, Watertown, SD, University of South Dakota School
of Medicine, Department of Psychiatry, December 5, 1978

Practical Approaches to Depression, Mitchell, SD, University of South Dakota
School of Medicine, Department of Psychiatry, January 15, 1979

Management of the difficult patient, Yankton, SD, University of South Dakota
School of Medicine, Department of Psychiatry, January 3, 1979

Management of the Difficult Patient, Pierre, SD, University of South Dakota
School of Medicine, Department of Psychiatry, February 8, 1979

Practical Approaches to Depression, Aberdeen, SD, University of South Dakota
School of Medicine, Department of Psychiatry, February 24, 1979

Violence in the Family, Sioux Falls, SD, University of South Dakota School of
Medicine, Department of Psychiatry, April 7, 1979

Management of the Difficult Patient, Yankton, SD, University of South Dakota
School of Medicine, Department of Psychiatry, April 9, 1979

Management of the Difficult Patient, Pierre, SD, University of South Dakota
School of Medicine, Department of Psychiatry, May 17, 1979

11

Case 4:17-cV-04123-LLP Document 85-6 Filed 10/18/18 Page 12 of 16 Page|D #: 1622

WCFCV/ZOOS

Pain: Diagnosis and treatment of the Difficult Patient, Sioux Falls, SD of
South Dakota School of Medicine, Department of Psychiatry, May 19, 1979

The Physician and Family Violence, Pierre, SD, USD Mental Health Linkage Grant,
June 16, 1981

Alcoholism and Suicide: Approaches to Hospital Management, Wessington Springs,
SD, USD Mental Health Linkage Grant, August 10, 1981

Alcoholism and Suicide: Approaches to Hospital Management, Pierre, SD, USD
Mental Health Linkage Grant, August 12, 1981

Approaches to Suicide, Pierre, SD, USD Mental Health Linkage Grant, October 26,
1981

Dealing with Pain: Effective Interpersonal and Pharmacological Methods, Huron,
SD, USD Mental Health Linkage Grant, October 26, 1981

Alcoholism, Miller, SD, USD Mental Health Linkage Grant, November 17, 1981

The Family: Illness and Health, Pierre, SD, USD Mental Health Linkage Grant,
January 25, 1982

Stress and Professional Burnout, Huron, SD, USD Mental Health Linkage Grant,
February 22, 1982

The Family: Illness and Health, Pierre, SD, USD Mental Health Linkage Grant,
April 19, 1982

Practical Psychopharmacology for Physicians, Mitchell, SD, USD Mental Health
Linkage Grant, August 19, 1982

DSM-III, Yankton, SD, USD Mental Health Linkage Grant, April 8, 1983

Rural Mental Health and Substance Abuse - A South Dakota Task Force, Sioux
Falls, SD, USD Mental Health Linkage Grant, September 23, 1983

Intentional Poisonings - Dealing with Suicide Attempts, Fall Toxicology
Conference, September 1983

Office Treatment of Depression, Fort Meade Hospital, September 1983

Dual Diagnosis Problems, Fort Meade Hospital, May 1984

Family Therapy of Schizophrenia, Fort Meade Hospital, June 1984

Crisis Intervention, SDMIX Presentation to North Dakota Physicians, March 1984

Drug Treatment of Schizophrenia, McKennan Hospital, Sioux Falls, SD, October
1984

Family Therapy of Schizophrenia, McKennan Hospital, Sioux Falls, SD, October
1984

12

Case 4:17-cV-04123-LLP Document 85-6 Filed 10/18/18 Page 13 of 16 Page|D #: 1623

WCFCV/ZOOS

Practical Psychotherapy, Moderator and Discussant, Winter Update, Deadwood, SD,
University of South Dakota School of Medicine, Department of Psychiatry,
February 1984

Pain Syndrome Update, SDMIX Teleconference, April 1984

Alcohol and Drug Abuse, Case of the Emotionally Disturbed Patient, McKennan
Hospital, Sioux Falls, SD, April 1984

Outcomes of Incest, American Orthopsychiatric Association Meeting, March, 1987

Premenstrual Syndrome Lecture, University of South Dakota School of Medicine
Department of Psychiatry, Sioux Falls, SD, April, 1987

Renal Effects of Lithium Carbonate lecture, University of South Dakota School
of Medicine Department of Psychiatry, Sioux Falls, SD, September 16, 1987

Latest Research In The Treatment of Anxiety & Panic Disorders, University of
South Dakota School of Medicine Department of Psychiatry and SD Psychiatric
Association, Sioux Falls, SD, October 10, 1987

Teleconference Alcoholism - Advances in Research & Treatment, South Dakota
Medical Information Exchange, Sioux Falls, SD, December 2, 1987

Dual Diagnosis, SDMIX Teleconference, April 1988
Adolescent Suicide, SDMIX Teleconference, June 1989
Geriatric Education Seminar, Dakota Plains, March 29, 1989

USD GR.AND ROUNDS AND CME PRESENTATIONS

 

DSM-III Training, Fort Meade, SD, August 21, 1980, 1 hour

Department of Psychiatry Weekly Group Supervision/Case Conference, VA Hospital,
Sioux Falls, SD, August 22, 1980, 1 hour

Department of Psychiatry Weekly Group Supervision/Case Conference, VA Hospital,
Sioux Falls, SD, August 29, 1980, 1 hour

DSM-III Training, Pierre, SD, October 3, 1980, 6 hours

South Dakota Medical Association Meeting, “The Impaired Physician”, Aberdeen,
SD, May 30-31, 1980

Geriatric Curriculum Planning including alcohol, Drug Abuse and Psychoactive
Prescription Drugs, Vermillion, SD, March 3, 1981

Workshop at Gerontology Forum, “How to Deal with Pain and Anxiety”, Sioux
Falls, SD, June 3, 1981

EMT Course, “Alcohol and Drug Abuse”, McKennan Hospital, Sioux Falls, SD, April
14, 1981, 1 hour

DSM-III Training Workshop, Pierre, SD, October 3, 1980, 4 hours

DSM-III Training Workshop, Rapid City, SD, March 25, 1981, 4 hours

13

Case 4:17-cV-04123-LLP Document 85-6 Filed 10/18/18 Page 14 of 16 Page|D #: 1624

WCFCV/ZOOS

Tribal Health Planning Workshop, Sioux Falls, SD, August 13-14, 1981
Teleconferences with Community Counseling, Series: “Sexual Dysfunction, Family
Therapy, Depression”, Sioux Falls, SD, July 22, 1981, August 3, 1981 and
September 21, 1981

Santee Workshop “Family Crisis Intervention”, Santee, Nebraska, October 1, 1981

Teleconference, “Crisis Intervention”, “Anxiety States”, Sioux Falls, SD,
February 18, 1982

DSM-III Workshop, Worthington, MN, May 18, 1982, 3 hours

Practical Psychopharmacology for Physicians, Mitchell, SD, August 19, 1982, 4
hours

Winter Update, “Psychiatry and Medicine” and “Acute and Chronic Illness” at
Spearfish, SD, February 5-6, 1983

DSM-III Training Workshop, Yankton, SD, April 8, 1983

NHSC Mental Health Care Workshop, “Stress and Violent Behavior Control”, Sioux
Falls, SD, April 14, 1983

Crisis Intervention Teleconference, Sioux Falls, SD, September 21, 1983, 1 hour
Pain Syndrome Update, Teleconference, April 11, 1984

Lecture, “Alcohol and Drug Abuse” and “Care of the Emotionally Disturbed
Patient”, McKennan Hospital, Sioux Falls, SD, April 17, 1984, 3 hours

Winter Update, “Over The Hill?”, Deadwood, SD, February 21-23, 1985

Grand Rounds, “Coordination of General Medicine and Psychiatry", Liaison
Psychiatry, Sioux Falls, SD, March 29, 1985

“Biological Treatments of Depression/Diagnosis and Patient Selection”, Sioux
Falls, SD, October 12, 1985

“Management of the Patient with Senile Dementia, Sioux Falls, SD, January 23,
1986

“Outcomes of Incest”, Sioux Falls, SD, May 21, 1986
“Hypochondriasis”, Sioux Falls, SD, July 25, 1986
“Recent Developments in Psychopharmacology”, Sioux Falls, SD, October 10, 1986

“Psychotherapeutic Intervention with Violent Patients", Sioux Falls, SD,
October 11, 1986

Winter Update, “Alcohol 1987”, Dual Diagnosis, Sioux Falls, SD, February 21-22,
1987

Panel Presentation, “Rural Psychiatry", American Psychiatric Association Annual
Meeting, Washington, DC, May 1987

14

Case 4:17-cV-04123-LLP Document 85-6 Filed 10/18/18 Page 15 of 16 Page|D #: 1625

WCFCV/ZOOS

Grand Rounds, “Multiple Personality Disorder”, Sioux Falls, SD, September 11,
1987

“Treating Clinical Anxiety in Patients Presenting with Cardiovascular
Symptoms”, April 14, 1988

Grand Rounds, “Depression With Multi-Personality Disorder”, January 8, 1988
Grand Rounds, “Panic Attacks and COPD”, November 7, 1988

Grand Rounds, “PTSD”, Sioux Falls, SD, January 1989

Grand Rounds, “Depression on Lithium Tx”, Sioux Falls, SD, April 7, 1989
Grand Rounds, “Sexual Offenders”, Sioux Falls, SD, October 20, 1989

“A Clinician's Guide to Clozaril”, December 8, 1989, Sioux Falls, SD

Winter Update, “Dependency Disorders and Affective Disorders”, Sioux Falls, SD,
February 1990

“Use of Side Effect Profiles in Treatment of Sexual Dysfunction, Sexual Desire
and PMS”, Primary Care Physicians and Psychiatrists, Pierre, SD, September,
2001.

“Anxiety Spectrum Disorders”, Primary Care Physicians and Psychiatrists,
Plankington, SD, October 2001.

“Citalopram and Stereoisomers, Efficacy and tolerability”, Primary Care
Physicians and Psychiatrists, Platte, SD, November, 2001.

“Treatment Resistance of Depression and Bipolar Disorder: New Data on the Use
of Atypicals", USD Department of Psychiatry, April 27, 2002.

“Treatment Resistance, of Depression and Bipolar Disorder: New Data on the Use
of Atypicals”, Watertown Primary Care Physicians, September 28, 2002.

“Treatment Resistance, of Depression and Bipolar Disorder: New Data on the Use
of Atypicals”, Sioux Falls Primary Care Physicians, October 9, 2002.

“Treatment Resistance, of Depression and Bipolar Disorder: New Data on the Use
of Atypicals”, Sioux Falls Primary Care Physicians, November 9, 2002.

Alzheimer's Disease: Advances in Research and Treatment, USD Department of
Psychiatry, May 27, 2003.

“At ical Antipsychotics: Lon Term Efficacy”, USD De artment of Psychiatr ,
YP 9 P Y
June 24, 2003.

“Quetiapine: Off Label Uses and Rapid Titration Schedule”, USD Department of
Psychiatry, August 26, 2003.

“Citalopram: New Data on Treatment Effectiveness - Remission vs. Improvement”,

Regional CME Meeting, Sioux Falls Psychiatrists and Allied Health
Professionals, September 30, 2003.

15

' Case 4:17-cV-04123-LLP Document 85-6 Filed 10/18/18 Page 16 of 16 Page|D #: 1626

WCFCV/ZOOS

“Safety Profile in Antidepressants", Primary Care Physicians, Mitchell, SD,
September 24, 2003.

“Advances in Research and Treatment of Schizophrenia”, NAMI, Huron, SD,
September 25, 2003.

“Comparing Antidepressant Treatments”, Sioux Falls Psychiatrists, September 9,
2003.

“Optimizing a Drug Treatment in Bipolar Disorder, Regional CME Meeting,
Columbus, Ohio, October 16, 2003.

FORT MEADE LECTURE SERIES: (1977 - 1988)

 

“Theories of Psychotherapy”, September 15, 1977.

“Chemotherapy”, March 16, 1978 & DSM-III, December 21, 1978.

“Treatment Strategies for Somatic Illness”, July 26, 1979.

“Oral Habit Disorders: Obesity, Anorexia, Smoking”, February 21, 1980,

“Psychological Reactions to Medical Illness”, January 21, 1982.

“Chronically Mentally Ill”, August 20, 1981.

“Advances in alcohol Treatment”, August 19, 1982.

“Office Treatment of Depression”, September 15, 1983.

“Dual Diagnosis Problems - Substance Abuse and Schizophrenia”, May 17, 1983.

“Outcomes of Incest”, February 21, 1985.

“Advances and Research Survey of Research”, presentations at 1985 APA
Convention, September 19, 1985.

“Outcomes of Incest-USD Study Results”, February 20, 1986.

“Impotence”, January 15, 1987.

“Depression Update”, April 16, 1987.

“Chronic Renal Effects of Lithium Carbonate”, September 16, 1987.

“Autoimmune Thyroid Disease-Association with Depression”, April 20, 1988,

REFERENCES

David W. Bean, M.D.

USD School of Medicine
Department of Psychiatry
1400 West 22nd Street
Sioux Falls, SD 57105

Timothy Soundy, M.D.

Vice Chairman, Division of Child Psychiatry
USD School of Medicine

Department of Psychiatry

1001 E. 21st St., Suite 200

Sioux Falls, SD 57105

K-Lynn Paul, M.D.
5800 W. Karen Drive
Sioux Falls, SD 57106

Joseph J. Cudzillo
2409 E. StantOn Dr.
Sioux Falls, SD 57103

Vail Williams, Ph.D.

8265 East Southern Avenue #58
MeSa, AZ 85208 updated: 2008

16

